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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 LAURA WONDERCHECK,                             §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                      CIVIL ACTION NO. 1:19-cv-00640-LY
                                                §
 MAXIM HEALTHCARE SERVICES,                     §
 INC.,                                          §
                                                §
        Defendant.                              §


           STIPULATION TO EXTEND DISPOSITIVE MOTION DEADLINE

       Plaintiff Laura Wondercheck and Defendant Maxim Healthcare Services, Inc., by and

through their respective counsel, hereby stipulate and agree that good cause exists to extend the

dispositive motion deadline from July 31, 2020, to August 17, 2020. Defendant agreed to permit

Plaintiff to conduct four depositions of former employees of Defendant after the discovery

deadline in this matter. Because these depositions were conducted following the discovery

deadline, the parties will not have sufficient time to obtain, review, and approve the deposition

transcripts in advance of the current deadline for filing dispositive motions. A brief extension of

the deadline will provide both parties adequate time to prepare any dispositive motions in this

matter, and the Parties hereby notify the Court they have agreed to extend this deadline to

August 17, 2020.




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Dated: July 28, 2020

Respectfully submitted,

/s/ Lindsay Hedrick                          /s/ Austin Kaplan
Lindsay Hedrick                              Austin Kaplan
Texas State Bar No. 24067655                 Texas State Bar No. 24072176
Victoria Bliss                               Maff Caponi
Texas State Bar No. 24105479                 Texas State Bar No. 24109154
JONES DAY                                    KAPLAN LAW FIRM, PLLC
2727 North Harwood Street                    406 Sterzing Street
Dallas, Texas 75201                          Austin, Texas 78704
Phone: (214) 220-3939                        Phone: (512) 553-9390
Fax: (214) 969-5100                          Telecopier: (512) 692-2788
E-mail: lahedrick@jonesday.com               Email: akaplan@kaplanlawatx.com
         vbliss@jonesday.com                         mcaponi@kaplanlawatx.com

Attorneys for Defendant                      Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 28, 2020, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system, which will send electronic notice to all counsel of record.


                                              /s/ Lindsay Hedrick
                                              Lindsay Hedrick




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